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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
Case No. CR-17-188-E-BLW
Plaintiff,
SUPERSEDING INDICTMENT
vs.
18 U.S.C. § 924(c)(1)(A)
DILLON KLAIR McCANDLESS, 18 U.S.C. § 1152

18 U.S.C. § 2111

 

Defendant.

 

The Grand Jury charges:
COUNT ONE

Robbery
18 U.S.C. §§ 2111 and 1152

On or about July 23, 2017, in the State and District of Idaho, and on the Fort Hall Indian
Reservation, the defendant, DILLON KLAIR McCANDLESS, by force and violence and by
intimidation, did take from the person and presence of S.C., a Sage Hill Casino teller, cash

money, in violation of Title 18, United States Code, Sections 2111 and 1152.

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COUNT TWO

Use of a Firearm in Furtherance of a Violent Crime
18 U.S.C. § 924(c)(1)(A)

On or about July 23, 2017, in the State and District of Idaho, the defendant, DILLON
KLAIR McCANDLESS, knowingly carried, used and brandished a firearm, to wit: a Mossberg,
Model 835 Ulti-Mag, 12 gauge short-barreled shotgun, serial number UM558215, during and in
relation to a crime of violence for which he may be prosecuted in a court of the United States, to
wit: robbery, a violation of 18 U.S.C. §§ 2111 and 1152, all in violation of 18 U.S.C. §
924(c)(1)(A).

FORFEITURE ALLEGATION

Forfeiture
18 U.S.C. § 924(d)

Upon conviction of the offense alleged in Count One of this Indictment, defendant
DILLON KLAIR McCANDLESS, shall forfeit to the United States, pursuant to 18 U.S.C. §
924(d) and 28 U.S.C. § 2461(c), all firearms and ammunition involved in the commission of the
offense, including, but not limited to, the following:

1, a Mossberg, Model 835 Ulti-Mag, 12 gauge short-barreled shotgun, serial number
UM558215;
If any of the above-described forfeitable property, as a result of any act or omission of the
defendant:

(a) Cannot be located upon the exercise of due diligence;

(b) Has been transferred or sold to, or deposited with, a third party;

(c) Has been placed beyond the jurisdiction of the court;

(d) Has been substantially diminished in value; or

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(e) Has been commingled with other property which cannot be divided without difficulty;
it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) as incorporated by 28 U.S.C.
§ 2461(c), to seek forfeiture of any other property of said defendant up to the value of the
forfeitable property described above.
Dated this dl day of March, 2018.

A TRUE BILL

/s/ [signature on reverse]

 

FOREPERSON

BART M. DAVIS
UNITED STATES ATTORNEY

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ASSISTANT Goch STATES ATTORNEY

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